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                                                                                 JtSTHH~T OF. NEB~<ASi</'
                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )         CASE ~o. 8:15CR6~~WF lCE. OF THE CLERK
                                                 )
                        Plaintiff,               )         ORDER FOR ISSUANCE OF A
                                                 )         SUBPOENA DUCES TECUM
v.                                               )
                                                 )
CHRISTINA VENTA,                                 )
                                                 )
                        Defendant.               )

         THIS MATTER came before the Court on the 8th day of May, 2015, on the Motion of the

Defendant for an order allowing the issuance of a Subpoena Duces Tecum (Filing No. 34),

pursuant to FED. R. CRIM. p. 17(c).

         The Court, being fully advised in the premises, finds that the Motion should be granted.

         IT IS THEREFORE ORDERED that the Clerk of the District Court is ordered to issue a

subpoena as identified in Defendant's Motion and supporting Affidavit and as directed by the

Defendant. Said subpoena shall be served by private process server. Upon production of the

documents set forth in the subpoena, counsel" for the defendant shall forthwith provide a copy of

such records to counsel for the government.

         IT IS SO ORDERED.

                                                BY THE COURT:



Date: May 8, 2015
